Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 1 of 21




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  ENRIQUE ALVEAR,

         Plaintiff,

  vs.

  EUROSTAR (FLORIDA), INC., d/b/a
  WSS, a foreign for-profit corporation,

        Defendant.
  ___________________________________/

                                            COMPLAINT

         Plaintiff ENRIQUE ALVEAR, through undersigned counsel, sues Defendant EUROSTAR

  (FLORIDA), INC., d/b/a WSS, a foreign for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff ENRIQUE ALVEAR is a resident of Miami, Florida, is sui juris, and is

  disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).




                                                   1
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 2 of 21




         5.      Plaintiff is and at all relevant times has been a blind and visually disabled person

  who has been diagnosed as having “complete blindness” as a result of retinal detachment to both

  eyes. Because of his condition, Plaintiff is blind and is substantially limited in performing one or

  more major life activities, including, but not limited to, sight, accurately visualizing his world, and

  adequately traversing obstacles. As such, he is a member of a protected class under the ADA, 42

  U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et

  seq., and 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of similarly situated

  disabled persons and is a “tester” for the purposes of asserting his civil rights and monitoring,

  ensuring, and determining whether places of public accommodation and/or their respective and

  associated websites are in compliance with the ADA and any other applicable disability laws,

  regulations, and ordinances.

         6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

  appropriate and available auxiliary aids, screen reader software, and other technology and

  assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

  rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually



                                                    2
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 3 of 21




  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017).

         7.      Defendant is a foreign for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a chain of

  approximately 140 stores selling men, women, and children’s shoes, clothing, and accessories,

  including the store Plaintiff intended to patronize in the near future at 4801 Southwest 8th Street,

  Miami, Florida.

         8.      Plaintiff’s blindness limits him in the performance of major life activities, including

  sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

  communicate and comprehend information available on the internet and thereby access and

  comprehend websites, Plaintiff uses commercially available screen reader software to interface

  with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of approximately 140 stores selling men, women, and children’s

  shoes, clothing, and accessories under the name “WSS”. Each “WSS” store is open to the public.

  As the owner, operator, and/or controller of these stores, Defendant is defined as a place of “public

  accommodation" within meaning of the ADA because Defendant is a private entity which owns,

  operates, and/or controls “a bakery, grocery store, clothing store, hardware store, shopping center,

  or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104.




                                                   3
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 4 of 21




          11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

          12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://www.shopwss.com (the “Website”). One of the functions of the Website is to provide the

  public information on the locations of Defendant’s stores. Defendant also sells to the public its

  merchandise through the Website, which acts as a critical point of sale for Defendant’s

  merchandise also available for purchase in, from, and through Defendant’s physical stores. In

  addition, the Website allows users to arrange for in-store pickups of merchandise purchased online,

  check for in-store availability of merchandise, and sign up for an emailer to receive exclusive

  online offers, benefits, invitations, and discounts for use online and in the physical stores.

          13.     The Website also services Defendant’s physical stores by providing information on

  available merchandise, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

          14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise that is also available for purchase

  in, from, and through the physical store, arrange for in-store pickups of merchandise purchased

  online, check for in-store availability of merchandise, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical stores, which are places of public accommodation under

  the ADA. As an extension of and service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,



                                                     4
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 5 of 21




  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a critical point of sale for Defendant’s stores, it enables

  users of the Website to make online purchases of Defendant’s merchandise that is also available

  for purchase in, from, and through the physical stores.

         15.     Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale in, from, and through Defendant’s physical stores, thus having

  the Website act as a critical point of sale for Defendant’s products also sold in, from, and through

  the physical stores, arrange for in-store pickups of merchandise purchased online, check for in-

  store availability of merchandise, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use online and in the physical stores, the Website is an

  extension of, and gateway to the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary service,

  privilege, and advantage of Defendant’s brick-and-mortar stores that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal access to and enjoyment of the goods,

  services, privileges, and advantages afforded the non-visually disabled public both online and in

  the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and



                                                   5
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 6 of 21




  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the

  non-visually disabled public both online and in the physical stores. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA.

          17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

  to patronize, in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical stores (including the store located at 4801 Southwest 8th Street

  Miami, Florida), and to search for the brick-and-mortar stores, check store hours and merchandise

  pricing, purchase merchandise online, arrange for in-store pickups of merchandise purchased

  online, check for in-store availability of merchandise, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores.

  In the alternative, Plaintiff intends to monitor the Website in the near future as a tester to ascertain

  whether it has been updated to interact properly with screen reader software.

          18.     The opportunity to shop and pre-shop Defendant’s merchandise, arrange for in-

  store pickups of merchandise purchased online, check for in-store availability of merchandise, and

  sign up for an emailer to receive exclusive online offers, benefits, invitations, and discounts for

  use online and in the physical stores from his home are important and necessary accommodations

  for Plaintiff because traveling outside of his home as a blind individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience. Defendant has not provided its

  business information in any other digital format that is accessible for use by blind and visually

  disabled individuals using screen reader software.

          19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits and to compare merchandise, prices, sales, services, discounts, and promotions.




                                                     6
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 7 of 21




  Plaintiff may look at several dozen websites to compare features, discounts, services, promotions,

  and prices.

         20.     Beginning in the month of January 2024, Plaintiff attempted on a number of

  occasions to utilize the Website to browse through the merchandise and online offers to educate

  himself as to the merchandise, sales, services, discounts, and promotions being offered, learn about

  the brick-and-mortar stores, check store hours, and check merchandise pricing with the intent to

  make a purchase through the Website or in, from, and through one of the physical stores. Plaintiff

  also attempted to access and utilize the Website in his capacity as a tester to determine whether it

  was accessible to blind and visually disabled persons such as himself who use screen reader

  software to access and navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These access barriers, one or more of which

  were experienced by Plaintiff, are pervasive and, as confirmed by Plaintiff’s expert, include the

  following (with reference to the Web Content Accessibility Guidelines (“WCAG”) 2.1 Level A

  and AA):

         a)      Level A Guideline 1.1.1 – Non-Text Content (Text alternatives for non-text content

  are provided.) – Images that are not announced with a meaningful label for each of the four shoe

  categories on the homepage (i.e., “Shop Men's”, “Shop Women's”, “Shop Kids”, and “New

  Arrivals”); instead, a long source file name with many alphanumeric characters was announced

  for each image.




                                                   7
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 8 of 21




         b)      Level A Guideline 1.3.1 – Info and Relationships (Information, structure, and

  relationships conveyed through presentation can be programmatically determined or are also

  available in text.) – Multiple unlabeled elements that the screen reader user encountered upon

  activation of the accessibility widget; an error message – for example – was announced when the

  screen reader used the left and right arrow buttons shown in the banner at the top of the home page.

  The message was announced as follows: “en missing color en dot general dot accessibility dot

  previous button”.

         c)      Level A Guideline 1.3.2 – Meaningful Sequence (Content is presented in a

  meaningful order.) – The announcement of multiple hidden links after each category on the home

  page; after the “Shop Kids” unlabeled image was announced, focus shifted to a hidden element

  that was announced as “was link”, which was difficult to move off from. This happened for each

  of the four shoe category sections.

         d)      Level A Guideline 2.4.3 – Focus Order (Website provides focus in a logical order

  that preserves meaning and operability.) – The accessibility widget was the first element

  announced when the home page loaded. The screen reader user did not activate the widget when

  "Use website in a screen dash reader mode" was announced, but focus moved directly to the home

  page. The “10% off” popup did not receive focus and was not announced, nor was the cookie

  disclaimer slide out window. Instead, focus remained on the underlying homepage. Note - when

  the screen reader user left the home page and navigated to other pages, the “10% off” pop-up

  disappeared, however, the cookie disclaimer slide out remained visible for the duration of the

  screen reader users visit, even when they returned to the home page.




                                                   8
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 9 of 21




         e)      Level A Guideline 3.3.2 – Labels or Instructions (Elements are labeled and give

  instructions.) – An unlabeled search button; it was announced as “missing colon en dot general dot

  accessibility dot open underscore…”.

         f)      Level A Guideline 4.1.2 – Name, Role, Value (All interactive elements are

  announced with a clear name, role and value.) – An unlabeled cart button; it was announced as

  “missing colon en dot general dot accessibility dot open underscore…”.

         g)      Level A Guideline 4.1.2 – Name, Role, Value (All interactive elements are

  announced with a clear name, role and value.) – An unlabeled menu button; it was announced as

  “missing colon en dot general dot accessibility dot open underscore…”.

         h)      Level AA Guideline 1.4.5 – Images of Text (Website doesn't use images of text

  (screen readers are unable to read).) – An unlabeled “Buy 2 and Save” promotional image that also

  did not have the text contained in the image announced; instead, a long source file name followed

  by a string of alphanumeric characters was announced.

         i)      Level AA Guideline 1.4.5 – Images of Text (2) (Website doesn't use images of text

  (screen readers are unable to read).) – An unlabeled “Klarna” image that contains text that was not

  announced; instead, a long source file name followed by a string of alphanumeric characters was

  announced.

         j)      Level AA Guideline 4.1.3 – Images of Text (3) (Website doesn't use images of text

  (screen readers are unable to read).) – An unlabeled and unannounced “Shop and Receive $25”

  promotional image; instead, a long source file name followed by a string of alphanumeric

  characters was announced.

         22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who



                                                  9
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 10 of 21




   have questions or concerns about, or who are having difficulties accessing, navigating, and/or

   communicating with, the Website. Although the Website appeared to have an “accessibility”

   widget/plugin from a third-party vendor named “accessiBe” linked from its home page, that

   “accessibility” widget/plugin, when activated and tested, could not be effectively accessed by,

   continued to be a barrier to, and did not provide a viable alternative means to fully and equally

   access and navigate the Website for blind and visually disabled persons, including Plaintiff.

   Plaintiff, thus, was unable to receive any meaningful or prompt assistance through the

   “accessibility” widget/plugin to enable him to equally, quickly, fully, and effectively navigate the

   Website.

          23.     The fact that Plaintiff could not communicate with or within the Website left him

   feeling excluded, as he is unable to participate in the same shopping experience, with the same

   access to the merchandise, sales, services, discounts, and promotions, as provided at the Website

   and in the physical stores as the non-visually disabled public.

          24.     Plaintiff desires and intends in the near future once the Website’s access barriers

   are removed or remedied to patronize one or more of Defendant’s physical stores and to use the

   Website, but he is presently unable to do so as he is unable to effectively communicate with

   Defendant due to his blindness and the Website’s access barriers. Alternatively, as a tester using

   screen reader software, Plaintiff is unable to effectively access, navigate, and communicate with

   Defendant through the Website due to his blindness and the Website’s access barriers. Thus,

   Plaintiff and others who are blind and/or with visual disabilities will suffer continuous and ongoing

   harm from Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless

   properly enjoined by this Court.




                                                    10
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 11 of 21




           25.     Because of the nexus between Defendant’s physical stores and the Website, and the

   fact that the Website clearly provides support for and is connected to Defendant’s physical stores

   for its operation and use, the Website is an intangible service, privilege, and advantage of

   Defendant’s brick-and-mortar stores that must comply with all requirements of the ADA, must not

   discriminate against individuals with disabilities, and must not deny those individuals the same

   full and equal access to and enjoyment of the goods, services, privileges, and advantages as

   afforded the non-visually disabled public both online and in the physical stores, which are places

   of public accommodation subject to the requirements of the ADA.

           26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

   to ensure full and equal use of the Website by individuals with disabilities.

           27.     On information and belief, Defendant has not instituted a Web Accessibility

   Committee to ensure full and equal use of Website by individuals with disabilities.

           28.     On information and belief, Defendant has not designated an employee as a Web

   Accessibility Coordinator to ensure full and equal use of the Website by individuals with

   disabilities.

           29.     On information and belief, Defendant has not instituted a Web Accessibility User

   Accessibility Testing Group to ensure full and equal use of the Website by individuals with

   disabilities.

           30.     On information and belief, Defendant has not instituted a User Accessibility

   Testing Group to ensure full and equal use of the Website by individuals with disabilities.

           31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

           32.     On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.



                                                   11
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 12 of 21




             33.   Defendant has not created and instituted a useful and effective Specialized

   Customer Assistance line or service or email contact mode for customer assistance for the visually

   disabled.

             34.   Defendant has not created and instituted on the Website a useful and effective page

   for individuals with disabilities, nor displayed a proper link and information hotline, nor created a

   proper information portal explaining when and how Defendant will have the Website, applications,

   and digital assets accessible to the visually disabled and/or blind communities.

             35    The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

             36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered through the Website and in the

   physical stores from their homes.

             37.   Defendant thus has not provided full and equal access to, and enjoyment of, the

   goods, services, facilities, privileges, advantages, and accommodations provided by and through

   the Website and the physical stores in contravention of the ADA.

             38.   Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff.

             39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet e-commerce websites such as the Website at issue in the instant

   action.



                                                     12
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 13 of 21




          40.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

          41.     Defendant is, and at all relevant times has been, aware of the need to provide full

   and equal access to all visitors to the Website.

          42.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities, including Plaintiff.

          43.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with the Website’s access and operation.

          44.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§2201 and 2202.

          46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

          48.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA and thus is subject to the ADA.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s



                                                      13
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 14 of 21




   physical stores, order and purchase merchandise that is also available for purchase in, from, and

   through the physical stores, arrange for in-store pickups of merchandise purchased online, check

   for in-store availability of merchandise, and sign up for an emailer to receive exclusive online

   offers, benefits, invitations, and discounts for use online and in the physical stores. The Website

   thus is an extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s

   physical stores. Further, the Website serves to augment Defendant’s physical stores by providing

   the public information about the and by educating the public as to Defendant’s available

   merchandise sold through the Website and in, from, and through the physical stores.

          50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of



                                                    14
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 15 of 21




   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          53.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          54.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal access to and enjoyment of the goods, information, and services that

   Defendant has made available to the public on the Website and in the physical stores in violation

   of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

          55.     The Website was subsequently visited by Plaintiffs expert in March 2024, and the

   expert determined that many of the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Despite being a defendant in a prior ADA

   website accessibility lawsuit, which likely resulted in a confidential settlement agreement that

   obligated Defendant to fully remediate the Website, Defendant has made insufficient material

   changes or improvements to the Website to enable its full and equal use, and enjoyment by, and

   accessibility to, blind and visually disabled persons such as Plaintiff. Also, although the expert

   found that the Website appeared to have an “accessibility” widget/plugin from a third-party vendor

   named “accessiBe” linked from the home page, that “accessibility” widget/plugin, when activated

   and tested, still could not be effectively accessed by, continued to be a barrier to, and did not

   provide a viable alternative means to equally access and navigate the Website for blind and visually

   disabled persons, including Plaintiff. Defendant has not disclosed to the public any intended

   audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

   individuals. Defendant thus has failed to make reasonable modifications in its policies, practices,

   or procedures when such modifications are necessary to afford goods, services, facilities,



                                                   15
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 16 of 21




   privileges, advantages, or accommodations to individuals with disabilities, in violation of 28

   C.F.R. §36.302.

           56.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           57.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           58.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           59.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals such as Plaintiff with visual disabilities who require the

   assistance of screen reader software to comprehend and access internet websites. These violations

   within the Website are ongoing.

           60.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

           61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)




                                                    16
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 17 of 21




   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          64.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          65.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff has suffered an injury

   in fact by being denied full and equal access to, enjoyment of, and communication with

   Defendant’s Website and its physical stores.

          66.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:



                                                    17
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 18 of 21




          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available, and directly link from the homepage of the Website, a functional statement of the

   Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

   of the goods, services, facilities, privileges, advantages, and accommodations of the physicals

   stores through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the Website

   being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and becoming informed of and purchasing

   Defendant’s merchandise, and during that time period prior to the Website being designed to

   permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website and the physical stores.

          68.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:



                                                   18
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 19 of 21




         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

            to monitor and update the Website on an ongoing basis, to remove barriers in order that

            individuals with visual disabilities can access, and continue to access, the Website and

            effectively communicate with the Website to the full extent required by Title III of the

            ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

            disabled logo within the Website, wherein the logo 1 would lead to a page which would

            state Defendant’s accessibility information, facts, policies, and accommodations. Such

            a clear display of the disabled logo is to ensure that individuals who are disabled are

            aware of the availability of the accessible features of the Website;

         D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

            accessibility by implementing a Website accessibility coordinator, a Website

            application accessibility policy, and providing for Website accessibility feedback to

            ensure compliance thereto;

         E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

            procedures toward persons with disabilities, for such reasonable time to allow

            Defendant to undertake and complete corrective procedures to its Website;

         F. An Order directing Defendant, by a date certain, to establish a policy of web

            accessibility and accessibility features for the Website to ensure effective

            communication for individuals who are visually disabled;




   1
                     or similar.
                                                 19
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 20 of 21




         G. An Order requiring, by a date certain, that any third-party vendors who participate on

            Defendant’s Website to be fully accessible to the visually disabled;

         H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

            provide mandatory web accessibility training to all employees who write or develop

            programs or code for, or who publish final content to, the Website on how to conform

            all web content and services with ADA accessibility requirements and applicable

            accessibility guidelines;

         I. An Order directing Defendant, by a date certain and at least once every three months

            thereafter, to conduct automated accessibility tests of the Website to identify any

            instances where the Website is no longer in conformance with the accessibility

            requirements of the ADA and any applicable accessibility guidelines, and further

            directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

            counsel for review;

         J. An Order directing Defendant, by a date certain, to make publicly available and directly

            link from the Website homepage, a statement of Defendant’s Accessibility Policy to

            ensure the persons with disabilities have full and equal enjoyment of the Website and

            shall accompany the public policy statement with an accessible means of submitting

            accessibility questions and problems;

         K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

         L. Such other and further relief as the Court deems just and equitable.




                                                 20
Case 1:24-cv-21121-XXXX Document 1 Entered on FLSD Docket 03/22/2024 Page 21 of 21




         DATED: March 22, 2024.

   RODERICK V. HANNAH, ESQ., P.A.            LAW OFFICE OF PELAYO
   Counsel for Plaintiff                     DURAN, P.A.
   4800 N. Hiatus Road                       Co-Counsel for Plaintiff
   Sunrise, FL 33351                         4640 N.W. 7th Street
   T. 954/362-3800                           Miami, FL 33126-2309
   954/362-3779 (Facsimile)                  T. 305/266-9780
   Email: rhannah@rhannahlaw.com             305/269-8311 (Facsimile)
                                             Email: duranandassociates@gmail.com


   By:   s/ Roderick V. Hannah               By:   s/ Pelayo M. Duran
         RODERICK V. HANNAH                        PELAYO M. DURAN
         Fla. Bar No. 435384                       Fla. Bar No. 0146595




                                        21
